                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  COLUMBIA DIVISION


    KAREN MCNEIL, et al.,

                      Plaintiffs,

           v.                                       Case No. 1:18-cv-00033

    COMMUNITY PROBATION SERVICES,                   Judge Campbell/Magistrate Judge Frensley
    LLC; et al.,

                      Defendants.
                                                    JURY DEMAND




                  MEMORANDUM IN SUPPORT OF PLAINTIFFS AND
                 COUNTY DEFENDANTS’ UNOPPOSED JOINT MOTION
                FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT

          Plaintiffs Karen McNeil, Lesley Johnson, Indya Hilfort, Lucinda Brandon, the Estate of

Tanya Mitchell, and Victor Gray (collectively, “Named Plaintiffs”), by and through their counsel,

along with Defendants Giles County and Giles County Sheriff Kyle Helton in his official capacity

(the “County Defendants”) respectfully submit this Memorandum of Law in Support of their Joint

Motion for Final Approval of a Class Action Settlement and Consent Decree between the Named

Plaintiffs and County Defendants.1 The Court previously granted the Parties’ Motion for

Preliminary Approval, preliminarily certifying a class for settlement purposes, appointing Atticus

Administration, LLC as the Claims Administrator (“Atticus”), and approving the proposed method

of providing notice to absent Class Members. Dkt. 447 (Preliminary Approval Order). Atticus did

not receive any requests for exclusion, and only one Class Member submitted an objection. The




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    Plaintiffs and the County Defendants will be referred to throughout this Motion as “the Parties.”


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Parties’ motion for final approval is unopposed, and the private defendants have agreed not to

appeal an order granting final approval. Dkt. 446 (Stipulation Among All Parties) ¶¶ C(1)–(2)

(“[A]ll parties agree not to file opposition to [] final approval of the Consent Decree [] or the

Settlement Agreement between the Plaintiffs and County Defendants[.] . . . Based on this

stipulation, all Parties agree not to appeal an order entering the Consent Decree and approving the

Agreement.”). Each of the relevant factors for determining whether to grant final approval weighs

in favor of approval of the Consent Decree and Settlement Agreement (“the Agreement”).

Accordingly, the Court should issue final approval, certify the Classes, and award the requested

Attorneys’ Fees and Service Payments.

         I.      Factual and Procedural Background

                 A. History of the Litigation2

         In this litigation against CPS Defendants,3 PSI Defendants,4 and County Defendants,

Named Plaintiffs Karen McNeil, Lesley Johnson, Indya Hilfort, Lucinda Brandon,5 the Estate of

Tanya Mitchell,6 and Victor Gray7 represent a putative class of people who were on probation in


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  This section is substantively identical to Section I of Memorandum in Support of Plaintiffs’ and
County Defendants’ Joint Motion for Preliminary Approval of Class Action Settlement. Dkt. 444
at 3–7.
3
  “CPS Defendants” includes Defendant Community Probation Services, LLC, Defendant
Community Probation Services, L.L.C., Defendant Community Probation Services, and Defendant
Patricia McNair.
4
 “PSI Defendants” includes Defendant Progressive Sentencing, Inc., Defendant PSI-Probation II,
LLC, Defendant PSI-Probation, L.L.C., Defendant Tennessee Correctional Services, LLC,
Defendant Timothy Cook, Defendant Markeyta Bledsoe, and former Defendant Harriet
Thompson.
5
 Ms. Brandon was substituted for original Named Plaintiff Sonya Beard on April 19, 2019. Dkt.
253.
6
 The Estate of Tanya Mitchell was substituted for Ms. Mitchell’s damages claims on March 23,
2021. Dkt. 432.
7
    Victor Gray was added as a Named Plaintiff on April 30, 2021. Dkt. 439.

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connection with a misdemeanor offense in Giles County on or after April 23, 2017, through March

31, 2021, for alleged violations of their due process and equal protection rights under the U.S.

Constitution and their rights under Tennessee law. Named Plaintiffs Brandon, McNeil, Johnson,

Gray, and the Estate of Tanya Mitchell represent a second class of people who were on probation

in connection with a misdemeanor offense in Giles County from April 23, 2015 to March 31, 2021,

who paid fees to CPS Defendants and/or PSI Defendants. Finally, Plaintiffs Hilfort and Gray

represent all people who are or will be convicted of a misdemeanor offense in Giles County and

who are required to make payments and/or who are sentenced to probation.

       Plaintiffs also brought a bail claim challenging the use of pre-determined secured money

bail amounts on misdemeanor violation-of-probation warrants. Dkt. 41 (Corrected First Amended

Complaint); Dkt. 42 (Motion and Mem. in Support of Motion for Temporary Restraining Order

and Motion for Preliminary Injunction). The Court granted a Temporary Restraining Order, Dkt.

45, and then a class-wide preliminary injunction on the bail claim, and the Sixth Circuit affirmed

the decision. McNeil v. Cmty. Prob. Servs., LLC, Case No. 1:18-cv-00033, 2019 WL 633012 (M.D.

Tenn. Feb. 14, 2019), aff'd, 945 F.3d 991 (6th Cir. 2019). As part of seeking a preliminary

injunction, Plaintiffs engaged in significant discovery, including written discovery and taking and

defending fifteen depositions, which included the deposition of Plaintiff Hilfort. See Ex. 1 (Decl.

of E. Rossi) ¶¶ 10, 18, 21.

       After Plaintiffs propounded their initial discovery requests, the parties engaged in

significant discovery for several months. See Ex. 1 ¶¶ 18, 21, 33-49. In addition to vigorously

litigating the sufficiency of Defendants’ discovery responses, Plaintiffs defended the depositions

of two Named Plaintiffs, prepared for the depositions of additional Plaintiffs and witnesses,

responded to numerous interrogatories and requests for production, and engaged in significant



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third-party discovery. Id. ¶¶ 68-75. On April 18, 2019, CPS Defendants moved for summary

judgment, raising qualified immunity as to Plaintiffs’ constitutional claims. Dkts. 245, 251. The

Court denied CPS’s summary judgment motion as premature, Dkt. 283, but stayed oral discovery

generally and written discovery as to CPS pending appeal of that order, Dkts. 296, 304. On August

14, 2019, during the stay, PSI moved for summary judgment. Dkt. 300. The Court denied the

motion as premature. Dkt. 361. The Sixth Circuit subsequently affirmed the district court’s denial

of CPS Defendants’ motion. McNeil v. Cmty. Prob. Servs, LLC, Case No. 19-5660, 803 Fed. App’x

846 (6th Cir. Feb. 28, 2020).

       Throughout the first discovery stay, Plaintiffs continued to engage in substantial written

discovery with County Defendants and PSI Defendants. Plaintiffs served additional requests for

production and interrogatories, engaged in numerous meet and confers to obtain additional

responsive documents and information in response to those requests, and gathered information

from numerous third parties. Ex. 1 ¶¶ 57-65. Altogether, Plaintiffs received over 76,000

documents, consisting of over 450,000 pages, from County Defendants, CPS Defendants, and PSI

Defendants. Id. ¶ 65. Plaintiffs also responded to additional discovery requests. Id. ¶ 73.

       On May 14, 2020, PSI refiled its motion for summary judgment. Dkt. 363. The discovery

stay was lifted on June 2, 2020. Dkt. 367. But CPS quickly filed two Rule 12 motions, challenging

jurisdiction and the sufficiency of Plaintiffs’ claims, and sought another stay of discovery pending

resolution of those motions. Dkts. 369, 370, 374. The Court granted the stay. Dkt. 382. The parties

fully briefed the motions, and on February 3, 2021, the Court issued decisions on the companies’

dispositive motions, allowing several of Plaintiffs’ claims to proceed. Dkts. 414–417.

       On September 14, 2020, named Plaintiff Tanya Mitchell passed away unexpectedly. Dkt.

408. On January 12, 2021, Plaintiffs moved to substitute Ms. Mitchell’s estate for Ms. Mitchell as



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class representative for Ms. Mitchell’s damages claims. Dkts. 410, 413. The Court granted that

motion on March 23, 2021. Dkt. 432. That same day, Plaintiffs filed a motion for leave to file a

Third Amended Complaint, seeking to add Victor Gray as a class representative for Ms. Mitchell’s

remaining injunctive claims. Dkt. 433. On April 30, that motion was granted. Dkt. 439.

        Plaintiffs and County Defendants began settlement discussions in January 2020 and entered

into mediation in the summer of 2020 with mediator Carlos Gonzalez. Ex. 1 ¶ 93. Plaintiffs and

County Defendants engaged in multiple telephonic meetings with Mr. Gonzalez, and he attended

an in-person meeting with County Defendants and other Giles County officials in October 2020.

Id. ¶ 94. The mediation process resulted in an agreement in principle between Named Plaintiffs

and County Defendants for damages and injunctive relief. Id. ¶ 96. On May 7, 2021, the Giles

County Commissioners Court voted to authorize the entry of a Settlement Agreement and Consent

Decree, ending private probation in Giles County. Id. The Commissioners also approved a

monetary settlement of $2 million. Id.

        Named Plaintiffs and County Defendants concluded that settlement is desirable to avoid

the time, expense, and inherent uncertainties of litigation and to resolve finally and completely all

pending and potential claims relating to the conduct alleged in this litigation.8 These parties further

believe that the Settlement Agreement offers significant benefits to Class Members and is fair,

reasonable, adequate, and in the best interest of all Class Members, defined as:

           Class A: All people (1) who are or will be convicted of a misdemeanor offense in Giles
            County and (2) who are required to make payments and/or who are sentenced to
            probation, represented by Named Plaintiffs Indya Hilfort and Victor Gray.




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 As part of the Settlement Agreement with County Defendants, Named Plaintiffs have agreed to
dismiss with prejudice their claims against the PSI Defendants and CPS Defendants if the Court
approves the Agreement. See Dkt. 446 (Stipulation Among All Parties).

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          Class B: All people who were on probation in connection with a misdemeanor offense
           in Giles County on or after April 23, 2017 through March 31, 2021, represented by all
           Named Plaintiffs.

          Class C: All people who paid CPS Fees and/or PSI Fees (as defined in the Settlement
           Agreement) while on probation in connection with a misdemeanor offense in Giles
           County on or after April 23, 2015 through March 31, 2021, represented by Karen
           McNeil, Lesley Johnson, Lucinda Brandon, Estate of Tanya Mitchell, and Victor Gray.

On July 26, 2021, the Court granted preliminary approval of the Settlement Agreement and

Consent Decree. Dkt. 447; Ex. 2 (Settlement Agreement); Ex. 3 (Consent Decree).

              B. The Terms of the Settlement

       In the interest of avoiding protracted and costly litigation, the parties have agreed to a

proposed Consent Decree that accomplishes the following:

       1. An end to user-funded probation in Giles County (whether run by a third party or the
          County);

       2. An end to the practice of keeping people in Giles County on supervised probation solely
          because they have not paid all of their probation fees;

       3. Implementation of use of a financial affidavit to ensure that the County does not collect
          legal financial obligations (“LFOs”) or restitution from people who cannot afford to
          pay;

       4. Waiver of past debts and notice thereof;

       5. The recall of outstanding misdemeanor violation-of-probation (“VOP”) warrants and
          notice thereof;

       6. Restrictions on the reissuance of past VOP warrants;

       7. Restrictions on the reassessment of ability to pay during probation terms;

       8. An end to pre-hearing detention for people arrested on misdemeanor VOP warrants;

       9. Restrictions on drug tests and reporting requirements for people on probation; and

       10. Requirements to train system actors on the new practices.




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       Further, and subject to court approval, the Parties’ Settlement Agreement provides that the

County will pay $2 million in class damages, Attorneys’ Fees, and Service Payments. The Parties

propose that payments out of the Settlement Fund be allocated as follows: First, an award of 10%

of the common fund will be paid in attorneys’ fees and costs (the “Attorneys’ Fee Award”) from

the Settlement Fund. Second, an additional $120,000 total will be distributed among Named

Plaintiffs Hilfort, Brandon, the Estate of Tanya Mitchell, McNeil, Johnson, and Gray as payments

for the service they provided in representing the classes in this litigation. Third, each class member

will receive equal portions of the Settlement Fund, calculated as follows:

              The Settlement Fund, minus proposed Service Payments and Attorneys’ Fees, is
               equal to $1,680,000.

              Out of a class of 3,892 people, Notice was mailed successfully to 3,405 Class
               Members in Class B and/or Class C. An initial payment will be allocated for all
               3,892 people, but payment will be made to only the 3,405 people who successfully
               received Postcard Notice. If any of the 487 Class Members whose Postcard Notice
               was returned undeliverable update their address prior to the first check cashing
               deadline (which is 90 days after the payments are made, see Dkt. 444-2 at 22),
               Atticus will distribute payment to them. Otherwise, the payments allocated to those
               487 individuals will revert to the Settlement Fund.

              Each member of Class B will be entitled to receive an initial Cash Award equal to
               80% of $1,680,000 (the Settlement Fund minus attorneys’ fees and service
               payments), divided by the total number of people in Class B. Prior to receiving the
               class lists, the Parties estimated that the initial cash award for individuals in only
               Class B would be $363. Ex. 1 ¶ 101. In fact, the initial payment sent to members of
               Class B will be $394.74. Ex. 4 (Declaration of Christopher Longley re Class Notice
               and Settlement Administration) (“Longley Declaration”) ¶ 14.

              Each member of Class C will be entitled to receive an initial Cash Award equal to
               20% of $1,680,000, divided by the total number of people in Class C. Prior to
               receiving the class lists, the Parties estimated that the initial cash award for
               individuals in only Class B would be $105. See Ex. 1 ¶ 101. In fact, the initial
               payment sent to members of Class B will be $125.89. Ex. 4 ¶ 14.

              Individuals who are members of both Class B and Class C will thus receive an
               initial Cash Award of $520.60. Id. The Parties originally estimated that such
               individuals would receive an initial Cash Award of $468. Ex. 1 ¶ 101.


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                If money reverts to the Settlement Fund after the deadline to cash the initial checks
                 has passed, the Settlement Administrator will make a second payment to each
                 Settlement Class Member who cashed a check or accepted payment from the
                 Settlement Administrator through another means. Each member of Class B who
                 cashed their initial checks or otherwise accepted their initial payment will be
                 entitled to a second Cash Award equal to 80% of the reverted settlement funds
                 divided by the total number of people in Class B who cashed their initial checks or
                 otherwise accepted their initial payment. Each member of Class C who cashed their
                 initial checks or otherwise accepted their initial payment will be entitled to a second
                 Cash Award equal to 20% of the reverted settlement funds divided by the total
                 number of people in Class C who cashed their initial checks or otherwise accepted
                 their initial payment. The Settlement Administrator will not, however, issue
                 payments equal to less than $25.00.

                If any additional funds remain in the Settlement Account after the second
                 distribution, they will be donated to Free Hearts in Nashville, Tennessee. See Ex. 2
                 at 17.

       II.       ARGUMENT

                 A. The Settlement is Fair, Reasonable, and Adequate

       A class action settlement should be approved if it is “fair, reasonable, and adequate.” Fed.

Rule Civ. P. 23(e)(2). In the Sixth Circuit, the following factors guide that analysis:

       (1) the risk of fraud or collusion;
       (2) the complexity, expense and likely duration of the litigation;
       (3) the amount of discovery engaged in by the parties;
       (4) the likelihood of success on the merits;
       (5) the opinions of class counsel and class representatives;
       (6) the reaction of absent class members; and,
       (7) the public interest.

Int’l Union, United Auto., Aerospace, & Agr. Implement Workers of Am. v. Gen. Motors Corp.,

497 F.3d 615, 631 (6th Cir. 2007); see also Hosp. Authority of Metropolitan Gov’t of Nashville &

Davidson Cty., Tennessee v. Momenta Pharms., Inc., No. 3:15-CV-01100, 2020 WL 3053467, at

*2 (M.D. Tenn. May 29, 2020). These factors are intended especially to protect the interests of

absent class members, “who by definition are not present during the negotiations.” Shane Grp.,

Inc. v. Blue Cross Blue Shield, 825 F.3d 299, 309 (6th Cir. 2016). Law and public policy “strongly


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favor the settlement of class action litigation.” Sheick v. Automotive Component Carrier LLC, 2010

WL 4136958, at *14 (E.D. Mich. Oct. 18, 2010) (collecting cases). “[T]here is a strong public

interest in encouraging settlement of complex litigation and class action suits because they are

“notoriously difficult and unpredictable” and settlement conserves judicial resources.” In re

Cardizem CD Antitrust Litig., 218 F.R.D. 508, 530 (E.D. Mich. 2003). Here, the Agreement is fair

and reasonable to all class members and all of the factors weigh in favor of final approval.

                   1. The Circumstances and Terms of the Agreement Demonstrate Lack of
                      Fraud or Collusion in its Creation

       “Courts presume the absence of fraud or collusion unless there is evidence to the contrary.”

IUE-CWA v. Gen’l Motors Corp., 238 F.R.D. 583, 598 (E.D. Mich. 2006). Named Plaintiffs and

County Defendants employed a neutral mediator, Carlos Gonzalez, who is experienced in litigation

regarding private probation practices, to assist the parties in reaching agreement. The negotiations

took place over more than a year, and resulted in an agreement that reflects significant compromise

of both parties’ initial positions. Throughout the period of negotiations, Plaintiffs and County

Defendants also engaged in extensive discovery that resulted in the parties seeking intervention of

the Court to resolve discovery disputes, further demonstrating that these parties were not engaging

in any form of collusion. Ex. 1 ¶¶ 35, 41-42, 58-59, 62, 64; cf. Dick v. Sprint Comms. Co., 297

F.R.D. 283, 295 (W.D. Ky. 2014) (noting that “extensive motion practice” between the parties and

a lack of any “allegation[s] of fraud or collusion” weighed in favor of approving settlement). A

settlement like this one that is reached through arms-length negotiations is entitled to a

presumption of fairness. See 4 Newberg on Class Actions § 13:43 (5th ed.). There is no suggestion,

let alone evidence, that the negotiations were not conducted at arms length. IUE-CWA, 238 F.R.D.

at 599. “Absent evidence of fraud or collusion, such settlements are not to be trifled with.”




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Granada Investments, Inc. v. DWG Corp., 962 F.2d 1203, 1205 (6th Cir. 1992). Thus, this factor

weighs in favor of final approval.

                   2. The Litigation Would be Expensive and Time-Consuming to Pursue
                      Through Trial

       The complexity, risks, and costs of additional litigation in this case are great. As the length

and history of this litigation plainly demonstrate, the Parties have vigorously litigated this case at

every stage over the course of over three years. Plaintiffs’ counsel has already expended over

10,000 hours on behalf of the Plaintiff Classes and incurred over $190,000 in costs. Ex. 1 ¶ 133.

And although Plaintiffs have completed paper discovery with County and PSI Defendants and the

Parties engaged in an initial round of depositions before the Preliminary Injunction hearing,

substantial discovery remains. Plaintiffs have taken no depositions in this case beyond those

relevant to Count 15 (the bail claim), and all written discovery with CPS Defendants has effectively

been on pause since the first stay of discovery in June 2019, with only limited discovery occurring

before then. If the litigation continued, it would require a significant expenditure of time to

complete written discovery with CPS Defendants, prepare for and conduct depositions against

three sets of Defendants and third-party witnesses, and defend the remaining Plaintiff depositions

and additional witnesses subjected to supervised probation by Defendants. Any trial in this case

would likely be lengthy and complex given the multiple sets of Defendants, significant number of

witnesses, the volume of evidence needed to demonstrate that the constitutional violations resulted

from policies and practices of the Defendants, and the need for expert witness testimony. This

case, like all litigation, presents additional costs for the Named Plaintiffs themselves, including the




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significant burdens of preparing for and participating in a multi-week trial, as well as the emotional

toll of sharing the details of their personal lives and financial struggles publicly.

                   3. The Parties Have Engaged in Sufficient Discovery to Ensure Fairness
                      of the Agreement and Claims Process

       Although substantial discovery remains in this case, the Parties have exchanged a

significant amount of information: more than sufficient to ensure the fairness of the Agreement

and claims process. First, the Parties engaged in significant written and oral discovery prior to the

preliminary injunction hearing, including conducting 15 depositions. Ex. 1 ¶¶ 10, 21. On October

30, 2018, after discovery formally opened, PSI Defendants produced 90,000 pages of documents.

Id. ¶ 34. In March 2019, CPS Defendants produced over 120,000 pages of documents. Id. ¶ 36.

Plaintiffs propounded additional discovery requests in April 2019 and June 2019. Id. ¶¶ 39, 43.

Over the course of the litigation, Plaintiffs received over 76,000 documents consisting of more

than 450,000 pages from the County Defendants, CPS Defendants, and PSI Defendants, and spent

substantial time responding to discovery requests from Defendants, including defending the

depositions of Named Plaintiffs Indya Hilfort, Tanya Mitchell, and Lucinda Brandon, and

producing documents consisting of over 6,100 pages. Id. ¶¶ 66–73.

       The discovery received to date is more than sufficient to justify approval of the Agreement.

Plaintiffs have reviewed a large number of documents from all Defendants to assess the strength

of their claims, to confirm municipal liability and the companies’ policies and practices, the likely

number of individuals in the class, and the amount of financial injury suffered by Class Members.

                   4. The Merits of Plaintiffs’ Claims, Benefits to the Class from the
                      Agreement, and Inherent Risks of Litigation Favor the Agreement

       The Agreement represents a balancing by Plaintiffs of the merits of their claims, the

benefits of the Agreement, and the risks of litigation. Although Plaintiffs believe that their



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remaining claims have significant merit, and the Court found as much during the preliminary

injunction proceedings and dispositive motion practice, see Dkts. 224–25; 414–417, there is

always uncertainty in litigation, especially where, as here, novel legal theories are being advanced.

Moreover, as discussed supra the financial benefits of the Agreement—including a damages award

and waiver of outstanding court debts—are fair to the class. Ex. 1 ¶¶ 99, 102. The proposal to

provide an average award to all Class Members is both fair and reasonable: any attempt to calculate

individualized damages would be impossible, given that the companies’ records are not accurate

and given the limitations of the County’s computer system. The Agreement also allows this

compensation to come now, rather than after potentially years of further litigation, which is of

significant benefit to the indigent class members, many of whom are in need of cash today to

address basic needs. See Phillips v. Humana Health Plans of Kentucky, Inc., 238 F.3d 423, *5 (6th

Cir. Dec. 15, 2000) (noting that settlements often account for the time value of money); Amos v.

PPG Indus., Inc., 2015 WL 4881459, at *4 (S.D. Ohio Aug. 13, 2015) (finding relevant that many

members of the settlement class, which consisted primarily of elderly and/or disabled individuals,

may not survive protracted litigation); see also In re MQVP, Ind., 477 Fed. Appx. 310, 314 (6th

Cir. Apr. 13, 2012) (recognizing the time value of money in assessing the fairness of a settlement).

Of course, to the extent that any absent class members disagreed with that choice, they were free

to exclude themselves. None of them did.

       Moreover, the detailed provisions of the Consent Decree afford Class Members numerous

benefits that would be difficult or impossible to achieve through litigation. In addition to ending

Defendants’ unconstitutional practices, the Consent Decree confers significant financial benefits

to Class Members in the form of immediate forgiveness of millions of dollars of outstanding debts

and fines. Additionally, outstanding misdemeanor violation-of-probation warrants will not be



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executed. This relief will protect Class Members’ financial resources, ensure that they will not be

kept on probation solely to pay fees, and prevent them from being assessed fees they cannot afford.

       Despite significant successes previously achieved in this case, in the absence of a

settlement, Plaintiffs would face substantial risks in litigating liability and damages, certifying a

class, and obtaining the breadth of injunctive relief achieved through the Agreement. The

Agreement thus offers fair and substantial relief in light of the significant challenges and risks

associated with pursuing such claims individually or through further litigation.

                   5. The Class Representatives and Class Counsel Approve of the
                      Agreement

       Class Counsel and all of the Named Plaintiffs believe that the settlement is fair, reasonable,

and adequate for all concerned. The judgment of experienced counsel who have evaluated the

strength of their evidence weighs in favor of approving the Agreement. Class Members will

achieve through this Agreement much of what they originally hoped to achieve, while preventing

costly, protracted litigation. The Named Plaintiffs and Class Counsel are particularly pleased that

the Agreement provides for permanent injunctive relief, which will ensure that no one else will be

forced to experience what the Named Plaintiffs allege they endured.

                   6. The Absent Class Members Have Embraced the Agreement

       Out of a class of 3,892 identified individuals, only one objection was received, and no one

opted out of the Agreement. Ex. 4 ¶¶ 8, 13. This extraordinarily positive response, especially for

a class consisting almost entirely of indigent former probationers, weighs heavily in favor of

approval. Compare Olden v. Gardner, 294 Fed. Appx. 210, 217 (6th Cir. Sept. 18, 2008) (the fact

that “[o]ut of nearly 11,000 absent class members, only 79 objected to the settlement, and only 54

are involved in this appeal . . . permit[s] the inference that most of the class members had no

qualms with [the settlement].”).

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                   7. The Public Interest Supports Approval

       The public interest strongly favors approval of the settlement. Protecting constitutional

rights is always in the public interest. Connection Distrib. Co. v. Reno, 154 F.3d 281, 288 (6th Cir.

1998). The proposed Settlement Agreement preserves the constitutional rights of individuals on

probation in Giles County by ensuring that they are not subjected to harsher treatment based on

inability to pay and that they will not be supervised by a probation officer with a financial incentive

to make discretionary decisions in ways that restrict their liberty and result in longer periods on

supervision and more debt. The settlement also involves the distribution of almost $2 million to

indigent people whose constitutional rights were violated, and mandates that Giles County reform

its probation practices to bring them into compliance with the Constitution and other applicable

law. Moreover, the public interest is served by the fact that this settlement will avoid an enormous

amount of litigation and expense. See In re Dun & Bradstreet Credit Servs. Customer Litig., 130

F.R.D. 366, 372 (S.D. Ohio 1990) (noting that the public interest is served where, inter alia,

“[t]ime-consuming and expensive litigation will be avoided, [and] the dispute will be resolved[.]”).

This factor strongly supports approval of the Agreement.

               B. Class Notice Satisfied Due Process

       Under Rule 23(e), this Court must “direct notice in a reasonable manner to all class

members who would be bound by the proposal[.]” Fed. R. Civ. P. 23(e)(1)(B). This Court has

wide discretion in determining what constitutes reasonable notice under Rule 23(e), in form and

method. See Franks v. Kroger Co., 649 F.2d 1216, 1222–23 (6th Cir. 1981), on reh’g, 670 F.2d

71 (6th Cir. 1982); 7B Fed. Prac. & Proc. Civ. § 1797.6 (3d ed.). “There are no rigid rules to

determine whether a settlement notice to the class satisfies constitutional or Rule 23(e)

requirements.” Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 114 (2d Cir. 2005). “The



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notice should be reasonably calculated, under all circumstances, to apprise interested parties of the

pendency of the action and afford them an opportunity to present their objections.” Int’l Union, United

Auto., Aerospace, & Agr. Implement Workers of Am. v. Gen. Motors Corp., 497 F.3d 615, 629 (6th

Cir. 2007).

       The Court approved the proposed notice program in the Preliminary Approval Order, and

Atticus, supervised jointly by the Parties, executed the notice program in accordance with the

provisions therein, with the exception of the courthouse Notice, which the County posted

belatedly. The Declaration of Christopher Longley, Chief Executive Officer of Atticus

Administration, LLC, details (i) the class list preparations, (ii) the method of providing notice to

the Class in accordance with the Settlement Agreement, (iii) the settlement websites and toll-free

information line, (iv) the receipt and processing of claim forms, and (v) the receipt and validation

of exclusion requests and settlement objections, all in adherence to the Court’s preliminary

approval order. See Ex. 4.

       Notice was provided using a variety of media. First, in July 2021, before the notice period

began, Atticus used records produced by CPS Defendants and PSI Defendants to identify an initial

list of 3,906 Class Members. Ex. 4 ¶ 4. Address information was not provided or located for 91 of

the people on the initial list. Id. ¶ 6. Thus, on August 16, 2021, Atticus sent Class Notice via First

Class Mail to 3,815 Class Members. Id. Of the remaining 91 potential Class Members on the initial

list, addresses were subsequently located through the Parties’ research efforts for 77 individuals.

Id. Atticus mailed notice to these 77 individuals in early October. Id. Following further review,

Counsel for the Parties agreed that Atticus should remove the remaining 14 incomplete records

from the Class List because they were confirmed to be duplicate or records that do not connect to

any human (specifically, there was a record for “Screen Drug.”). Id. Thus, the total number of



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identified Class Members to whom notice was mailed was 3,892. Id. The mailed notice was sent

in the format of a four-panel postcard. Id. ¶ 7. The Postcard Notice included an overview of the

allegations, information about settlement benefits, rights and options available to Class Members,

and how to access additional information. Id. Of the 3,892 postcards mailed, 841 were returned as

undeliverable. Id. ¶ 8. Following address tracing and re-mailing, a total of 3,405 Class Notices—

or 87.48% of the 3,892 Notices—were mailed successfully. Id.

       Second, notice was provided via Facebook beginning on August 13, 2021. Id. ¶ 9. The

Facebook page provided the long-form notice and the Postcard Notice. Id. It also included a link

to the settlement website and information about how to contact Atticus directly. Id. The page was

viewed 54,550 times.

       Third, the content of the Postcard Notice was published in the Pulaski Citizen on August

18, 2021, and September 1, 2021. Id. ¶ 10.

       Finally, Notice was posted at the Courthouse, as required by the Preliminary Approval

Order, albeit belatedly. On November 16, two Notices, containing the content of the Postcard

Notice, were posted on the counters in the Clerk’s Office at the Giles County Courthouse. Ex. 5

(Declaration of Cassandra Crane) ¶ 4. Notice was also posted on November 16 on the bulletin

board outside the General Sessions Courtroom. Id. ¶ 5. On November 18, notice was posted on the

door to the Circuit Court courtroom. Id. ¶ 6. Given the belated postings, and out of an abundance

of caution in the event there are Class Members who did not receive Notice via the other three

media and who wish to update their names or addresses, the Parties jointly propose that the

courthouse Notice remain posted for an additional 50 days until January 5, 2022.9 Given that



9
 If any additional objections or opt-out requests are received during this period of time, the Parties
will notify the Court promptly.

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Notice was provided in three other media—mailing, Facebook, and newspaper, and considering

that the Administrator has agreed to accept name and address changes up through the conclusion

of the initial 90-day check-cashing period, even without the additional courthouse notice, the

Notice program that was implemented fully satisfies Rule 23 and due process.

       The deadline for requesting exclusion from or filing objections to the Agreement was

October 15, 2021. Atticus received no exclusion requests and only one objection, which is attached

as Exhibit D to the Longley Declaration.

       The notice plan previously approved by the Court, and implemented by the parties, satisfied

the requirements of due process and Rule 23. Following an additional 50-day courthouse notice

period, the program will exceed those requirements and comply fully with this Court’s Preliminary

Approval Order, without delaying the timeline for distribution, if the Court issues final approval.

               C. The Named Plaintiffs’ Service Payments Are Reasonable10

       In accordance with the Settlement Agreement, the Named Plaintiffs will receive a Service

Payment that is allocated based on the length of time they participated in the case and whether and

to what extent they participated in discovery, including whether they submitted to a deposition.

The proposed Service Payments are $25,000 for individuals who were deposed (Lucinda Brandon,

the estate of Tanya Mitchell, and Indya Hilfort), $20,000 for the other original Named Plaintiffs

(Karen McNeil and Lesley Johnson), and $5,000 for recently-added Named Plaintiff Victor Gray.

       These Service Payments are reasonable. While the Sixth Circuit “has never explicitly

passed judgment on the appropriateness of incentive awards,” it has recognized that numerous

courts of appeals “have stressed that incentive awards are efficacious ways of encouraging



10
  This section is substantively identical to Section IV of Memorandum in Support of Plaintiffs’
and County Defendants’ Joint Motion for Preliminary Approval of Class Action Settlement. Dkt.
444 at 17–20.
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members of a class to become class representatives and rewarding individual efforts taken on

behalf of the class.” Hadix v. Johnson, 322 F.3d 895, 897 (6th Cir. 2003); accord Lonardo v.

Travelers Indem. Co., 706 F. Supp. 2d 766, 787 (N.D. Ohio 2010) (“Courts within the Sixth Circuit

. . . recognize that, in common fund cases and where the settlement agreement provides for

incentive awards, class representatives who have had extensive involvement in a class action

litigation deserve compensation above and beyond amounts to which they are entitled to by virtue

of class membership alone.”). Here, the Named Plaintiffs provided substantial support to Class

Counsel throughout the course of litigation over more than three years. Ex. 1 ¶¶ 103-24. For

example, they provided a significant amount of documents, much of which involved personal

financial information; participated in the investigation and litigation, including helping counsel

identify potential witnesses and substitute class representatives when necessary; prepared for and

completed lengthy depositions, which involved responding to invasive questions about their

personal finances, life choices, criminal history, and time on probation; and participated in an

untold number of conversations with Class Counsel about their experiences and proposed relief.

The Named Plaintiffs have remained committed to their roles in this case, even as they dealt with

personal tragedy, housing and food insecurity, and medical issues, and even as they juggled

immense familial responsibility. Id. ¶¶ 72, 110-11, 114, 117-18, 120-21, 124.

       The total amount that will be awarded in Service Payments is $120,000, with the highest

individual amount being $25,000. The total amount of Service Payments amounts to 6% of the

total settlement, with the highest individual Service Payment representing 1.25% of the total

settlement. And the Settlement Fund does not include the total amount of debt being forgiven,

which Plaintiffs’ counsel estimates could exceed $6.5 million dollars. Ex. 1 ¶ 102. Considering

both the cash awards and the amount of debt forgiven, the service payments amount to 1.41% of



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the total settlement, with the highest individual Service Payment representing .29%. The Service

Payment amounts are proportional to the benefits received by the entire class, which include a

significant cash award and automatic waiver of past court debts; automatic forgiveness of any

remaining outstanding fees and debts; and a continuing benefit in the form of significant changes

to the ways in which supervised probation is run in Giles County.

       The service payments sought are also in line with similar awards given within this Circuit.

See Order Granting Final Approval to Class Settlement at 10, Rodriguez v. Providence Cmty.

Corr., Inc., No. 15-01048 (M.D. Tenn. July 5, 2018), Dkt. 228 (approving $10,000 per named

plaintiff in suit against private probation companies as “just compensation for the time and effort

spent on bringing this action to a successful conclusion” where the case was stayed just seven

months after filing and settlement occurred before discovery even opened); In re Polyurethane

Foam Antitrust Litig., 135 F. Supp. 3d 679, 694 (N.D. Ohio 2015) (approving $35,000 per named

plaintiff where “the representative Plaintiffs responded to document requests and were deposed”);

In re Skelaxin (Metaxalone) Antitrust Litig., 2014 WL 2946459, at *4 (E.D. Tenn. June 30, 2014)

(collecting cases awarding $50,000 or more to each named plaintiff); Boynton v. Headwaters, Inc.,

2012 WL 12546853, at *3 (W.D. Tenn. Mar. 27, 2012) (approving $100,000 for each of two named

plaintiffs and $10,000 each for other named plaintiffs).

       The Named Plaintiffs have diligently and fairly represented their respective classes

throughout this litigation. Several of the Named Plaintiffs have been actively litigating this case

for over three years. They have assisted in the preparation of responses to numerous discovery

requests, including turning over sensitive documents and information regarding their finances. Ex.

1 ¶¶ 67-68, 70. Three of the Named Plaintiffs were subjected to intense depositions that lasted

between four and seven hours and included extensive discussions of personal history such as prior



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criminal convictions; mental and physical health conditions; their families, including their young

children; their financial situations; and traumatic encounters with law enforcement officers and in

jail. Id. ¶ 72. All of them responded to detailed, intrusive interrogatories covering sensitive,

personal topics such as every source of their income (including information regarding any money

borrowed from anyone, who it was borrowed from, and whether it was paid back), their

employment history, their monthly expenses, financial account information, credit card

information, phone numbers, and history of interaction with the criminal legal system. Id. ¶ 70.

Three Plaintiffs were on supervised probation during the pendency of this lawsuit, exposing them

to publicity and the risk of retaliation at a time when their liberty depended on decisions made by

the parties they sued. And even after the Named Plaintiffs were released from their terms of

supervised probation, they continued to vigorously represent the interests of class members on

supervised probation, including strongly advocating for injunctive relief that would prevent others

from being subjected to the constitutional violations that they had endured. For all of these reasons,

the Service Payments are reasonable.

               D. Class Counsel Should Be Awarded the Full Compensation Contemplated
                  in the Settlement Agreement

       In common fund cases, a fee award is appropriate if it is reasonable under the

circumstances, in light of factors like the complexity of the legal questions involved, the results

achieved, the efforts expended, and the importance of the matter at hand. See Denney v. Phillips

& Buttorf Corp., 331 F.2d 249, 251 (6th Cir. 1964); Smillie v. Park Chem. Co., 710 F.2d 271, 275

(6th Cir. 1983); Pergament v. Kaiser-Frazer Corp., 224 F.2d 80, 83 (6th Cir. 1955). Collectively,

these factors weigh in favor of approving the requested Attorneys’ Fee Award. Class Counsel has

litigated complex and novel questions of federal civil rights law over three years, including

litigating and winning a temporary restraining order and preliminary injunction; engaging in

                                                 20

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significant motions practice, including responding to multiple motions to dismiss, preparing

lengthy evidentiary exhibits in response to multiple premature motions for summary judgment,

and prevailing on their core legal claims; and briefing and winning two interlocutory appeals to

the Sixth Circuit. Ex. 1 ¶¶ 48-55, 74-82.

        Class Counsel has also participated in extensive discovery, propounding more than twenty

sets of discovery requests to three sets of defendants, responding to multiple requests for discovery,

turning over thousands of pages of documents, and reviewing more than 450,000 pages of

materials received in discovery. Id. ¶¶ 10, 33, 39, 43-45, 62, 65, 67-68, 70. And, when two Named

Plaintiffs could no longer participate in the litigation, Class Counsel expended significant energy

locating class members who were willing to serve as substitute class representatives. Id. ¶ 132.

        The Attorneys’ Fee Award sought is fair and reasonable. The settlement fund impacts

thousands of Class Members and obtains millions of dollars in debt forgiveness, while the

injunctive relief in the proposed Consent Decree ensures that no one in Giles County will endure

violations of their federal constitutional rights.

        In compensation for their efforts, Class Counsel is requesting a lump sum of $200,000 to

cover their costs and fees. The Sixth Circuit permits courts to employ the percentage approach,

which “more accurately reflects the results achieved,” see Rawlings v. Prudential-Bache Props., 9

F.3d 513, 515-16 (6th Cir. 1993), and a 10% recovery falls well below the range of percentage-of-

fund awards routinely approved in this circuit, see Gokare, 2013 WL 12094887, at *4 (approving

attorneys’ fees worth 30.9% of settlement fund). See also In re Southeastern Milk Antitrust Litig.,

2013 WL 2155387, at *3–4; Bessey v. Packerland Plainwell, Inc., 2007 WL 3173972, at *4 (all

approving attorneys’ fees awards of 30% or greater); In re Southeastern Milk Antitrust Litig., 2013

WL 2155387, at *3–4 (E.D. Tenn. May 17, 2013) (approving attorneys’ fees constituting one-third



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of settlement fund); Bessey v. Packerland Plainwell, Inc., 2007 WL 3173972, at *4 (W.D. Mich.

Oct. 26, 2007) (approving an award of 33%, including costs and expenses, and noting that

“[e]mpirical studies show that . . . fee awards in class actions average around one-third of

recovery” (citation omitted)). Moreover, this amount represents a fraction of the attorneys’ fees

expended: Class Counsel have collectively worked over 10,000 hours on this case, and costs alone

exceed $190,000. Ex. 1 ¶¶ 133-34. Counsel is foregoing a significant amount of fees given the

nature of the case and in order to maximize the recovery to the class.

               E. The Court Should Certify the Class

       The Court preliminarily certified the proposed classes. Dkt. 447 at 2. For all of the reasons

the Parties previously explained, Dkt. 444 at 20–23, the Court should certify the proposed

Settlement Classes. The Parties incorporate herein the arguments set forth in that memorandum.

       III.    Conclusion

       For all of the foregoing reasons, the Parties respectfully request that the Court (1) grant

final approval of the Agreement; (2) certify the proposed Settlement Classes; and (3) authorize

distribution of Class Members’ Cash Awards, Named Plaintiffs’ Service Payments and counsels’

Attorneys’ Fees.



 Dated: November 23, 2021                            Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on November 23, 2021, I electronically filed the foregoing Memorandum in

Support of Named Plaintiffs’ and County Defendants’ Joint Motion for Preliminary Approval of a

Class Action Settlement and Consent Decree using the CM-ECF System, which caused notice to

be sent to via email to the following counsel of record:


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